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                                                                                         Clerk, U. S. District Coirt
                                                                                         Western District of Texas
                                                                                 By___________
                                                                                                           Deputy

                             UNITED STATES DISTRICT COURT
                                      WESTERN DISTRICT OF TEXAS
                                        SAN ANTONIO DIVISION

     UNITED STATES OF AMERICA                            §
                                                         §
     vs.                                                 §         Criminal No.: SA: 12-CR-00359(2)-OLG
                                                         §
     (2) EDUARDO RODRIGUEZ                               §
        Defendant



                         MEMORANDUM AND RECOMMENDATION
                Pursuant to the referral by the district judge, the defendant, defendant's attorney and
     the attorney for the government appeared before the undersigned magistrate judge on
     September 04, 2012, for the purpose of defendant's entry of a plea of guilty. At that time
     defendant entered a guilty plea as stated in the record. The magistrate judge addressed the
     defendant personally in open court and, after assuring that defendant was competent to proceed
     and had consented to pleading guilty before a magistrate judge, admonished the defendant in
     accordance with Rule 11, Fed.R.Crim.P., of the nature of the charge, the possible penalties,
     defendant's constitutional and statutory rights, and the consequences of pleading guilty.
     Defendant acknowledged understanding these admonishments. The undersigned also addressed
     defendant concerning the voluntariness of the guilty plea. Finally, the undersigned assured the
     existence of a factual basis for the guilty plea. Based upon the answers to the court's questions
     from defendant and from counsel, the magistrate judge makes the following findings:

                    1.    the defendant is competent to stand trial;
                    2.    the defendant has consented to plead guilty before a magistrate judge;
                    3.    the defendant fully understands the nature of the charge and the penalties;
                    4.    the defendant understands defendant's constitutional and statutory rights and
                          desires to waive them;
                    5.    the defendant's plea is freely, knowingly and voluntarily made; and
                    6.    there is a factual basis for the plea.

                                            RECOMMENDATION

            It is, therefore, the recommendation of the Magistrate Judge that the guilty plea be
     ACCEPTED and that a judgment of guilt be entered against defendant.
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                                     Instructions for Service and
                                   Notice of Right to Appeal / Object

                The United States District Clerk shall serve a copy of this Memorandum and
    Recommendation on all parties either (1) electronic transmittal to all parties represented by an
    attorney registered as a Filing User with the Clerk of Court pursuant to the Court's Procedural
    Rules for Electronic Filing in Civil and Criminal Cases; or (2) by certified mail, return receipt
    requested, to any party not represented by an attorney registered as a Filing User. Pursuant to
    Title 28 U.S.C. Section 636 (b) (1) and Rule 59(b)(2), Fed.R.Crim.P., any party who desires to
    object to this report must serve and file written objections to the Memorandum and
    Recommendation within 14 days after being served with a copy unless this time period is
    modified by the district court. A party filing objections must specifically identify those findings,
    conclusions or recommendations to which objections are being made and the basis for such
    objections; the district court need not consider frivolous, conclusive or general objections. Such
    party shall file the objections with the clerk of court, and serve the objections on all other
    parties and the magistrate judge. A party's failure to file written objections to the proposed
    findings, conclusions and recommendations contained in this report shall bar the party from a de
    novo determination by the district court. See Thomas v. Am, 474 U.S. 140, 150, 106 S.Ct. 466,
    472, 88 L.Ed.2d 435 (1985). Additionally, any failure to file written objections to the proposed
    findings, conclusions and recommendation contained in this Memorandum and Recommendation
    within 14 days after being served with a copy shall bar the aggrieved party, except upon grounds
    of plain error, from attacking on appeal the unobjected-to proposed factual findings and legal
    conclusions accepted by the district court.          Douglass v. United Services Automobile
    Association, 79 F.3d 1415, 1428-29 (5th Cir. 1996).

                SIGNED on September 04, 2012.
